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                IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )         CR. NO. 06-00080-02 SOM
                              )         CIV. NO. 13-00178 SOM/KSC
          Plaintiff,          )
                              )         AMENDED ORDER FINDING WAIVER
     vs.                      )         OF ATTORNEY-CLIENT PRIVILEGE
                              )         WITH RESPECT TO DEFENDANT’S
RODNEY JOSEPH, JR.,           )         INSTANT MOTION UNDER 28
                              )         U.S.C. § 2255 TO VACATE, SET
          Defendant.          )         ASIDE, OR CORRECT SENTENCE
_____________________________ )


         AMENDED ORDER FINDING WAIVER OF ATTORNEY-CLIENT
    PRIVILEGE WITH RESPECT TO DEFENDANT’S INSTANT MOTION UNDER
    28 U.S.C. § 2255 TO VACATE, SET ASIDE, OR CORRECT SENTENCE

          On May 23, 2013, the court filed an Order Finding

Waiver of Attorney-Client Privilege with Respect to Defendant’s

Instant Motion under 28 U.S.C. § 2255 to Vacate, Set Aside, or

Correct Sentence.    The order, which was submitted as a proposed

order by the Government, is amended to correct the word

“ineffectively” to “effectively” in the first paragraph.            The

rest of the order remains unchanged.      Below is the entire order

showing the incorrect word with a line through it and the correct

word underlined:

          Above-named Defendant has filed on April 15, 2013,
     in the above-referenced case, his motion under 28
     U.S.C. § 2255 to vacate, set aside, or correct
     sentence. Defendant has lodged in his motion a claim
     that Reginald Minn, Esq., Defendant’s retained counsel
     for pretrial, trial and appellate proceedings was
     "ineffective" for allegedly failing to ineffectively
     effectively raise an objection or appeal of the
     District Court’s imposition of the mandatory minimum
     sentence of life.
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          The United States has moved this Court to issue an
     Order which finds that as a matter of law, Defendant
     has waived attorney-client privilege.

          Good cause appearing therefor, it is hereby
     ordered that the above-named Defendant has waived the
     attorney-client privilege with respect former counsel
     Reginald Minn, Esq. concerning all matters associated
     with Defendant's allegations in his motion to vacate,
     set aside, or correct sentence.

          IT IS SO ORDERED.

          DATED: Honolulu, Hawaii, July 8, 2013.




                                   /s/ Susan Oki Mollway
                                  Susan Oki Mollway
                                  Chief United States District Judge




United States v. Rodney Joseph, Jr., CR. NO. 06-00080-02 SOM,
CIV. NO. 13-00178 SOM/KSC, AMENDED ORDER FINDING WAIVER OF
ATTORNEY-CLIENT PRIVILEGE WITH RESPECT TO DEFENDANT’S INSTANT
MOTION UNDER 28 U.S.C. § 2255 TO VACATE, SET ASIDE, OR CORRECT
SENTENCE

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